EXHIBIT A
FILED: QUEENS COUNTY CLERK 07/05/2019 03:39 PM                                                                INDEX NO. 711350/2019
NYSCEF DOC. NO. 1                                                                                    RECEIVED NYSCEF: 07/05/2019


         SUPREME COURT OF THE STATE OF NEW YORK

         COUNTY OF QUEENS

                                                                        X

         ISRAEL MARCOLINO SCHAFFNER

                          Plaintiff,

        - against -

         Diamond Resorts Holdings, LLC.; a Nevada limited liability
         company; Diamond Resorts International Inc.; a Delaware
         corporation; Diamond Resorts U.S. Collection, LLC.; s
         Delaware limited liability company; Diamond Resorts                                      DO /A° 19
                                                                                   Index No. 71 (3C
         International Marketing Club, Inc. "The Club"; a California
         corporation; Diamond Resorts International Club, Inc.; a
         Florida corporation; Diamond Resorts Management, Inc. an
         Arizona Corporation; Diamond Resorts U.S. Collections                    SUMMONS
         Member Association; a Delaware corporation; Diamond
         Resorts Developer & Sales Holding Company, a Delaware
         company; Diamond Resorts Financial Services, Inc.; a
                                                                                      Queens County Clerk's Office
         California corporation; and does 1 through 100, Inclusive,                   PM   2799801 07/05/2019 3:23n
         (collectively, "Apollo")' MICHAEL FLASKEY; KENNETH                           Cashier SRAPHAEL Register t 2
         SIEGEL; ("shareholder" of Diamond International Inc.)
         VITOR MENNA BARRETO
                                                                                      Tr .3423291               $210.00
                                                                                      Documents Pay At Court E-file
                                  Defendant's                                         711350/2019 SUMMONS AND COMPLAINT
                                                                      X
                                                                                      Total:                           $210.00
                                                                   Credit                      . 21.0 Ofl
                  PLEASE NOTICE THAT YOU ARE HEREBY SUMMONED to answer the complaint of the Plamtafts) -
         herein and to serve a copy of your answer on the plaintiffts) at the address indicated below within 20 days after the
         service of this summons (not Counting the day of service itself), or within 30 days after the service of this Summons
         is not delivered personally to you within the State of New York.

                  You RE HEREBY NOTIFIED THAT should you fail to answer, a judgement will be entered against you
         by default for the relief demanded in the complaint.




         Dated:
                             ( 2. ,                                         ISRA MARCOLINO SCHAFFNER



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                                          N• P.U17.

                      Notary Publfc-State of Nevi
                              No. 00,06352980
                                                       el,

                                                    C000tN
                                                                                 1579 216th Street, Apt. IR

                                                        9,                      Bayside, NY 11360
                          Qua0 \ed Queeos
                      Covoco‘ss\ on .Y..to.ices Pinuaty
                                                                                 (917) 530-0159



         Defendant(s) Address:         10600W. Charleston Blvd. Las Vegas, NV 89135

         Venue:            Plaintiff(s) designate(s) Queens County, New York as the place of trial. The basis of this
                           designation is: Plaintiff(s)' Residence in Queens County, New York.




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      1                               SUPREME COURT OF THE STATE OF NEW YORK
                                                COUNTY OF QUEENS
      2

      3
           ISRAEL MARCOLINO SCHAFFNER
      4
                                    Plaintiff,
      5

      6
                                   - against —
      7

      8    Diamond Resorts Holdings, LLC; a Nevada limited liability

      9
           company; Diamond Resorts International, Inc., a Delaware
           corporation; Diamond Resorts U.S. Collection, L.L.C., a
                                                                                Index No.1    (I S°    /20   iq
     10    Delaware limited liability company; Diamond Resorts
           International Marketing, Inc., a California corporation;
     11    Diamond Resorts International Club, Inc., a Florida
           corporation; Diamond Resorts Management, Inc., an Arizona            COMPLAINT
     12
           corporation; Diamond Resorts U.S. Collection Members
     13    Association, a Delaware corporation; Diamond Resorts
           Developer & Sales Holding Company, a Delaware company;
     14    Diamond Resorts Financial Services, Inc., a California
           corporation; and Does I through 100, Inclusive,
     15    (collectively; "Apollo"); MICHAEL FLASKEY; KENNETH
     16    SIEGEL; Vitor Menna Barret° a Diamond Resorts
           International, Inc. Shareholder.
      17
                                  Defendant's
      18

      19

      20   TO THE SUPREME COURT OF THE STATE OF NEW YORK

      21
                   The complaint of the Plaintiff Israel Marcolino Schaffner respectfully shows and alleges as follows:
      22

      23           I.   The plaintiff herein, Israel Marcolino Schaffner, is a resident of the State of New York. Mr. Schaffne

      24                resides at 1579 216" Street, Apt. I R, Bayside, New York 11360.
      25
                   /. The defendant's herein, Diamond Resorts Holdings, LLC; a Nevada limited liability company
      26

      27                Diamond Resorts International, Inc., a Delaware corporation; Diamond Resorts U.S. Collection

      28                L.L.C.; a Delaware limited liability company; Diamond Resorts International Marketing, Inc.,

                        California corporation Diamond Resorts International Club, Inc., a Florida corporation; Diamon

                        Resorts Management, Inc., an Arizona corporation; Diamond Resorts U.S. Collection Member

                        Association, a Delaware corporation; Diamond Resorts Developer & Sales Holding Company,

                        Delaware company; Diamond Resorts Financial Services, Inc., a California corporation; and Does I

                        through 100, Inclusive, (Collectively, "Apollo"). and MICHAEL FLASKEY; KENNETH SIEGEL -

                        Vitor Menna Barreto (Diamond Resorts International, Inc. Shareholder) (collectively "Individua



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      1              Defendants," and together with DRI and Apollo the "Defendants") based on personal knowledge wit

      2              respect to themselves and on information and belief derived from, among other things, investigatio

      3
                     and review of public documents as to all other matters, has a principal place of business at 10600W
      4
                     Charleston Blvd. Las Vegas, NV 89135. and complain and allege as follows:,


      6         3.   Diamond Resorts International knowingly and intentionally markets and sells its timeshar

      7              memberships to unsuspecting, unsophisticated, and elderly consumers, like defendant "shareholder'
      8
                     Vitor Menna Barreto, who is elderly and handicap at resorts and sales centers throughout the Unite
      9
                     States.
     10

     11         4.   After being placed under duress, coercing defendant "shareholder" Vitor Menna Barreto to purchase

      12             how to overcome purchaser objections, and how to employ tactics that a reasonable person wou
      13
                     deem annoying, abusive and harassing with the end goal of convincing consumers, like defendan
      14
                     "shareholder" Vitor Menna Barreto, into making high dollar purchases that they would not otherwis
      15
                     have made.
      16

      17
                5.   On May 18, 2017, defendant Mr. Vitor Menna Barreto a shareholder of DIAMOND RESORT
      18
                     INTERNATIONAL LLC.; member number 27945013, called me at the hotel from a meeting that h
      19
                     was having with a DIAMOND RESORTS INTERNATIONAL Salesperson and asked plaintiff if h
      20
                     could come to the presentation to help him understand what the salespersons were saying, plainti
      21

      22             went to the location and tried to the best of his knowledge to translate what the salespersons wer .

      23             saying, moments later defendant "shareholder" Vitor Menna Barreto asked if plaintiff could use hi
      24
                     credit card in order for defendant to complete the purchase since at that time his credit card accoun
      25
                     would not be able to cover the full charges of the purchase defendant was trying to make, for tha
      26
                     reason plaintiff went to the office and allowed (ONE TIME ONLY) DIAMOND RESORT
      27

      28             INTERNATIONAL LLC.; to use plaintiff's credit cards in order for the purchase to be completed

                     After it was done and completed and once defendant "shareholder" Vitor Menna Barreto was back i

                     his home country Brazil, he ultimately paid back the plaintiff for the amount used for that purchase.


                6. Plaintiff, Israel Marcolino Schaffner acted as third party under duress to use his credit card for (ON

                     TIME ONLY) for a payment of defendant "shareholder" Vitor Menna Barreto to complete purchase a

                     DIAMOND RESORTS INTERNATIONAL, LLC.




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      1        7.    Plaintiff, Israel Marcolino Schaffner never entered to nor has any contract with DIAMOND RESORT

      2              INTERNATIONAL, LLC.

      3
                8.   Diamond Resorts International continues to perpetrate these fraudulent practices on their customers
      4
                     including Plaintiffs, by continuing to make the aforementioned fraudulent statements
      5

      6              misrepresentations and omissions to Plaintiff's bank institutions, while negligently and withou

      7              Plaintiffs knowledge or consent charge Plaintiffs credit card for responsibilities of other parties unde
      8
                     the contract.
      9

     10         9.   Diamond Resorts International sales presentations are strategically designed to physically, emotionally

     11              and mentally wear down susceptible consumers, and to specifically target elderly persons, lik

     12              defendant "shareholder" Vitor Menna Barreto.
     13
                10. Diamond Resorts International has one goal in mind and that is to close the sale on the same day as th
     14

     15              presentation. Diamond has no regard for a consumer's position in life, the consumer's financial Ail'

     16              to;afford the timeshare membership or the overall financial suitability of the timeshare membership fo

     17              consumers, like "shareholder" Vitor Menna Barreto. This is because Diamond is financ1all
     18
                     incentivized to have its purchasers default so Diamond can recoup the owners' points and keep al
     19
                     monies paid as "liquidated damages."
      20

      21        I I. Diamond Resorts International misrepresentations were material to the purchase and materially alte

      22
                     the rights and responsibilities of the parties not under the contract.
      23
                12. Diamond Resorts International knew that their representations were false, and Diamond Reso
      24

      25             International intended to induce defendant "shareholder" Vitor Menna Barreto into purchasin

      26             additional timeshare use rights, in the form of "points" through the use of these false representations.
      27
                13. Once consumers are convinced that purchasing is in their best interest, Diamond leads them into
      28
                     different area where a "Quality Assurance" employee is purportedly required to walk the consume

                     through the sales documents in detail. The Quality Assurance process is strategically designed t

                     misrepresent that the Quality Assurance employee is a neutral third party who is there simply t

                     explain the purchase documents with the consumer. However, it is not disclosed to the purchaser tha

                     the Quality Assurance employee has a financial stake in the transaction and is compensated based o

                     commission dependent on the number of Quality Assurance presentations given; of which is paid onl



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      1             if the purchaser completes the purchase. As a result, the Quality Assurance employee is financial]

      2             incentivized to ensure that the purchase is completed so he receives compensation. Moreover, th

      3
                    Quality Assurance employee is incentivized to rush through the purchase documents with th
      4
                    consumer in order to close more deals. None of this was disclosed to Plaintiff and Plaintiff did no
      5
                    participated in any presentations.
      6

      7         14. In addition to the lack of neutrality that the Quality Assurance employee has, the Closing Documen

      8
                    that defendant "shareholder" Vitor Menna Barreto had to review are so voluminous and so complex
      9
                    that it would have taken them hours and hours to read and understand. In fact, the defendan
     10
                    "shareholder" Vitor Menna Barreto was not afforded the opportunity to fully read and speciall
     11

     12             understand since the contracts are in English that is not the native language of defendant'

      13            "shareholder" Vitor Menna Barreto's Portuguese and his English is very limited. In fact, it

      14            impossible for any person, to understand what they are buying and what they are committin
      15
                    themselves to after undergoing a grueling sales presentation and then being rushed through the closin
      16
                    process. In other words, the entire closing process is designed to place consumers, like "shareholder'
      17
                    Vitor Menna Barreto, under duress, to coerce, to annoy, and to harass them into signing a majo
      18

      19            purchase without having a reasonable opportunity to conduct the necessary due diligence that i

      20            required for a purchase of such magnitude. "Shareholder" Vitor Menna Barreto had no reason t

      21
                    believe that they had been lied to or deceived during the sales presentation or closing process whic
      22
                    Diamond subjected them to. Plaintiffs had every right to trust that Diamond was acting honestly and i
      23
                    good faith.
      24

      25        IS. Defendant failed to reimburse the charges to Plaintiff's credit cards.
      26
                16. Defendant followed all proper procedures with the credit card issuers in order to recuperate the no
      27

      28            authorized transaction that defendant made.


                17. Defendant and salespersons and its billing department submitted collages of signatures attaching the

                     to old or manufactured contracts making fraudulent statements to mislead plaintiff's banks of th

                     charges resulting banks to deny plaintiff complaint of un-authorized transactions.


                18. Plaintiff made numerous phone calls and sent several letters to defendant about the charges, bu

                     received no response.




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      1         19. The action of the defendant's has impacted dramatically Plaintiff's credit scores.

      2
                20 DIAMOND RESORTS INTERNATIONAL LLC., has not only several, but hundreds upon hundred
      3
                    of similar complaints, relevant complaints that they use sales tactics on the elderly and vulnerabl
      4
                    people just as it happened to their "Shareholder' Mr. Barreto.
      5

      6
                21. At all relevant times referenced herein, Diamond took affirmative steps to misrepresent, omit, o
      7
                    conceal material terms of the Timeshare Purchase Instruments and Timeshare Membershi
      8
                    Agreements and other related purchase documents to prevent Plaintiffs from reading an
      9

     10             understanding the full terms and conditions relating to the transactions mentioned herein.

     11
                22. WHEREFORE, Plaintiffs respectfully request judgment against Diamond Resorts International fo
     12
                    statutory damages in the sum of $53,271.75, plus costs and disbursements, together with any othe
     13
                    relief the Court finds to be just and proper.
      14

      15

      16
               Dated:
      17
                                                                                  Israel Marcolino Schaffner
      18
                                                                                          Plaintiff
      19

      20
                                                                                  15-79 2I6'h Street, Apt. IR
      21
                                                                                      Bayside, NY 11360
      22

      23

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      1                                                       VERIFICATION

      2
           ISRAEL MARCOLINO SCHAFFNER, being duly sworn, deposes and says:
      3

      4             I am the plaintiff in the above-entitled action. I have read the foregoing complaint and know the content

      5    thereof The same are true to my knowledge, except as to matters therein stated to be alleged on information an

      6
           belief and as to those matters I believe them to be true.
      7

      8

      9
                Sworn to before me this:
     10

     11
                                                  ,o0
     12

     13

     14

      15                                                                             L— Al •

      16                         Notary Public                                            Print Name

      17

      18                            SUSAN N. RUIZ
                            Notary Public-Stale of New York
      19
                                  No. 04RU6352980
      20                      Qualified in Queens County
                          Commission Expires January 9,
      21

      22

      23

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      28




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                                                            COMPLAINT



                         The complaint of the Plaintiff Israel Marcolino Schaffner respectfully shows and alleges as

              follows:

              1. The plaintiff herein, Israel Marcolino Schaffner, is a resident of the State of New York. Mr.

                    Schaffner resides at 1579 216th Street, Apt. 1R, Bayside, New York 11360.

              2. The defendant's herein, Diamond Resorts Holdings, LLC; a Nevada limited liability company;

                    Diamond Resorts International, Inc., a Delaware corporation; Diamond Resorts U.S. Collection,

                    L.L.C.; a Delaware limited liability company; Diamond Resorts International Marketing, Inc., a

                    California corporation; Diamond Resorts International Club, Inc., a Florida corporation;

                    Diamond Resorts Management, Inc., an Arizona corporation; Diamond Resorts U.S. Collection

                    Members Association, a Delaware corporation; Diamond Resorts Developer & Sales Holding

                    Company, a Delaware company; Diamond Resorts Financial Services, Inc., a California

                    corporation; and Does 1 through 100, Inclusive, (Collectively, "Apollo"). and MICHAEL

                    FLASKEY; KENNETH SIEGEL; Vitor Menna Barreto (Diamond Resorts International, Inc.

                    Shareholder) (collectively "Individual Defendants," and together with DRI and Apollo the

                    "Defendants") based on personal knowledge with respect to themselves and on information and

                    belief derived from, among other things, investigation and review of public documents as to all

                    other matters, has a principal place of business at 10600 W. Charleston Blvd. Las Vegas, NV

                    89135. and complain and allege as follows:,



                                                      NATURE OF THE CASE



              3. On May 18, 2017, Mr. Vitor Menna Barreto a shareholder of DIAMOND RESORTS

                    INTERNATIONAL LLC.; member number 27945013, called me at the hotel from a meeting that

                    he was having with a DIAMOND RESORTS INTERNATIONAL Salesperson and asked me if I

                    could use my credit cards in order for him to complete a purchase, I believe at that time his

                    credit card account would not be able to cover the full charges of the purchase he was trying to

                    make for that reason I did go to the office and allowed (ONE TIME ONLY) DIAMOND




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                    RESORTS INTERNATIONAL LLC.; to use my credit cards in order for the purchase to be

                    completed. After it was done and completed and once he was back in Brazil he ultimately paid

                    me back the amount he used for the purchase and that was it.

              4. On or around April of 2018, Mr. Barreto a shareholder of DIAMOND RESORTS

                    INTERNATIONAL LLC.; invited me to come to Orlando, Florida to join him on a another

                    vacation and the same thing happened; That time I was at the hotel and he called asking me to

                    go to the meeting with him because he was not understanding completely what the

                    Salesperson (a male salesperson) was explaining to him, so I tried to translate what the

                    Salesperson was explaining to the best of my abilities and advised him that he should not enter

                    into another contract or make the purchase because after he told me about his timeshare

                    options, he really DID NOT need to make such purchase, but the Salesperson was very

                    persistent and ended up convincing Mr. Barreto to make the purchase and they even gave him

                    a $100.00 dollars gift card just for having me there with him. Once again at the end of the

                    meeting he asked me if he could use my credit card once again for another purchase or

                    upgrade with DIAMOND RESORTS INTERNATIONAL LLC.; at that time I was under the

                    influence of alcohol because I was on vacation not intending to go anywhere or interested in

                    participating to any DIAMOND RESORTS INTERNATIONAL meetings since I was not going to

                    buy any vacation packages and because their meetings are very lengthy and aggressive on

                    selling, time consuming and even annoying. So, I do not recall much of what was the purchase

                    or any details for the purchase were that day.

              5. Months had passed and on June 21, of 2018, I was traveling in Europe and before I went I

                    notify my credit card company that I was going to be overseas and one time I tried to purchase

                    train/metro pass the transaction was declined, so I assumed it was declined because I was

                    overseas and had to pay cash.

              6. On July 3rd of 2018, I returned to the United States and right away start working and catching

                    up with every day normal tasks until I got the statement from my TD Bank Credit Card Account,

                    once I opened it I was shocked with several large charges amounts on my card for DIAMOND

                    RESORTS MTG PAYM LAS VEGAS NV and since I was looking at all my banks and credit

                    cards statements I logged in to my Discover Card account and again I was shocked to see that




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                  DIAMOND RESORTS INTERNATIONAL aka DIAMOND RESORTS MTG PAYM LAS VEGAS

                  NV had charged my card several large transactions totaling $22,485.59 on my Discover card

                  alone. I contacted both credit card companies' accounts and filed claims for all the charges,

                  they replaced my cards at that time and also credited me all the charges from DIAMOND

                  RESORTS MTG PAYM LAS VEGAS NV and I was relieved and thinking that it all had been

                  resolved.

             7. On December 6, 2018, all charges were reversed back to my Credit Cards, I was confused and

                  was told by my credit card company that DIAMOND RESORTS INTERNATIONAL provided

                  them with information that proved I did have a contract with DIAMOND RESORTS

                  INTERNATIONAL and that I had approved the transactions when I had NOT approved any

                  transactions nor purchased anything from DIAMOND RESORTS INTERNATIONAL and have

                  no contract whatsoever with DIAMOND RESORTS INTERNATIONAL.

             8. After I spoke with my credit card companies I was advised to contact the merchant DIAMOND

                  RESORTS INTERNATIONAL directly to resolve the issue. I did contact DIAMOND RESORTS

                  INTERNATIONAL several times via phone and e-mail, I spoke to over ten DIAMOND

                  RESORTS INTERNATIONAL representatives but was never able directed to a department that

                  would resolve the issue, they kept me transferring to salespersons and in one instance I .was

                  told by a salesperson Miss. Sayonara Villalta that I had no legal rights under any accounts.

             9.   Defendant and salespersons and its billing department submitted collages of signatures

                  attaching them to old or manufactured contracts making fraudulent statements to mislead

                  plaintiffs banks of the charges resulting banks to deny plaintiff complaint of un-authorized

                  transactions.

             10, Once again I contacted my Credit Card companies and provided them with a copy of the e-

                  mails and once again my credit card company placed a temporary credit on my account but two

                  or three months later the credit card companies mailed me a notice stating that DIAMOND

                  RESORTS INTERNATIONAL had provided them documentation that I did have a contract With

                  them and again, I do not have any contract with DIAMOND RESORTS INTERNATIONAL,

                  lid.; and therefore I am not obligated or responsible for charges for their shareholders.

                  accounts.




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